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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT COLUMBUS
WILLIAM DANIEL PEYATT,

         Petitioner,                                    :      Case No. 2:21-cv-5141

- vs -                                                         District Judge James L. Graham
                                                               Magistrate Judge Michael R. Merz
WARDEN, Belmont Correctional
Institution,
                                                        :
         Respondent.


                 ORDER ADOPTING REPORT AND RECOMMENDATION



         The Court has reviewed the Second Supplemental Report and Recommendation of
United States Magistrate Judge Michael R. Merz (ECF No. 23), to whom this case was referred
pursuant to 28 U.S.C. § 636(b).
         Petitioner timely    filed   objections   to   the Second      Supplemental      Report   and
Recommendation on October 27, 2022 (ECF No. 24).
         Upon de novo review of the matter, the Court find that the objections fail to raise any
meritorious argument.        The Second Supplemental Report and Recommendation correctly
addresses petitioner’s claims and arguments, and the Court hereby ADOPTS said Second
Supplemental Report and Recommendation.
         Accordingly, it is hereby ORDERED that the Petition be DISMISSED with prejudice.
Petitioner is DENIED any requested certificate of appealability and the Court hereby certifies to
the United States Court of Appeals that an appeal would be objectively frivolous and therefore
should not be permitted to proceed in forma pauperis.
         Pursuant to Fed. R. Civ. P. 58, the Clerk shall enter judgment to this effect.


                                               s/ James L. Graham
DATE: January 20, 2023                         James L. Graham
                                               United States District Judge
